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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

       In Re: KATRINA CANAL BREACHES          )            CIVIL ACTION
              CONSOLIDATED LITIGATION         )            NO. 05-4182 “K” (2)
                                              )            JUDGE DUVAL
                                              )            MAG. WILKINSION
                                              )
__________________________________________)
                                              )
      PERTAINS TO: State of Lousiana (06-3552))
                                              )
__________________________________________)

                                  NOTICE OF HEARING
PLEASE TAKE NOTICE THAT, the undersigned will hear the United States’ Motion to
Dismiss Plaintiffs’ First Amended Complaint at the Courtroom of the Honorable Stanwood
R. Duval Jr, United States Courthouse at 500 Poydras Street, New Orleans, LA, 70130, on
the 21st day of February, 2007, at 9:30 a.m.
       New Orleans, Louisiana, this ____ day of __________, 2006.


                                               ______________________________
                                               Judge Stanwood R. Duval Jr
                                               Eastern District of Louisiana
